       Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 1 of 13




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION



LA UNIÓN DEL PUEBLO ENTERO, et al.,
                      Plaintiffs,

      v.                                         5:21-cv-0844-XR

GREGORY W. ABBOTT, et al.,
                       Defendants.
OCA-GREATER HOUSTON, et al.,
                        Plaintiffs,

      v.                                         1:21-cv-0780-XR

JOSE A. ESPARZA, et al.,
                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,

      v.                                         5:21-cv-0848-XR

GREGORY WAYNE ABBOTT, et al.,
                     Defendants.
LULAC TEXAS, et al.,
                      Plaintiffs,

      v.                                         1:21-cv-0786-XR

JOSE EXPARZA, et al.,
                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,

      v.                                         5:21-cv-0920-XR

GREG ABBOTT, et al.,
                           Defendants.
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 2 of 13




    PLAINTIFFS’ OPPOSITION TO PUBLIC INTEREST LEGAL FOUNDATION’S
                        MOTION TO INTERVENE

       Plaintiffs Houston Justice; Houston Area Urban League; Delta Sigma Theta Sorority, Inc.;

The Arc of Texas; and Jeffrey Lamar Clemmons (collectively, “Plaintiffs” or “Houston Justice

Plaintiffs”) file this opposition to the motion to intervene filed by the Public Interest Legal

Foundation (“PILF”). The motion was filed in Case No. 1:21-cv-786, which is consolidated with

this case, but the motion also reserves PILF’s right to participate in the instant case. See PILF Mot.

at 2 n.1, ECF No. 43 (reserving “right to provide responses to [all] complaints” in consolidated

cases). To the extent the motion constitutes a request to intervene in the instant case, Plaintiffs

oppose. PILF has failed to set forth any arguments related to the Houston Justice Complaint and

has failed to comply with the rules governing its intervention motion. On the merits, PILF cannot

establish a basis for intervention as of right or permissive intervention because it fails to identify

a cognizable interest in the case and its interests are adequately represented by the State

Defendants. Though it is unclear whether PILF intends to intervene in this case, Houston Justice

Plaintiffs file this opposition out of an abundance of caution.

                                          BACKGROUND

       On August 31, 2021, the Texas legislature passed S.B. 1, an omnibus voting bill that

eliminates methods and means of voting disproportionately used by Black and Latino voters and

that raises the barriers to voting for individuals with disabilities. See generally Complaint for

Declaratory & Injunctive Relief, Case No. 5:21-cv-848 (W.D. Tex. Sept. 9, 2021), ECF No. 11-1

(the “Houston Justice Complaint”). Governor Abbott signed the legislation into law on September

7, 2021; the law takes effect 91 days after the end of the second special legislative session. Id. ¶ 18.

       Plaintiffs challenged the law under the United States Constitution, the Voting Rights Act,

the Americans with Disabilities Act, and the Rehabilitation Act. Plaintiffs sued Governor Abbott,

                                                   1
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 3 of 13




Deputy Secretary of State Esparza, and Attorney General Paxton (“State Defendants”) as well as

the elections administrators of Bexar and Harris Counties (“Local Defendants”). Four other

lawsuits were also filed in the Western District of Texas challenging S.B. 1 as violative of the

Constitution and federal law. See Consolidation Order, ECF No. 20. The Court consolidated this

case with those four cases under Case No. 5:21-cv-844.

        On October 7, PILF moved to intervene in LULAC Texas, et al., v. Jose Esparza, et al.,

Case No. 1:21-cv-786. The motion included a proposed answer only in the LULAC case, but PILF

reserved the right to file a responsive pleading to all complaints in the consolidated litigation. See

PILF Mot. at 2 n.1. The motion is therefore unclear as to the extent of intervention it seeks.

                                            ARGUMENT

        As a threshold matter, PILF’s motion to intervene does not address the substance of the

Houston Justice Complaint and therefore is not a proper motion to intervene as to the claims

brought by the Houston Justice Plaintiffs. On the merits of its motion, PILF has not established

grounds for intervention as of right under Federal Rule of Civil Procedure 24(a)(2) or for

permissive intervention under Rule 24(b)(1). PILF’s intervention motion identifies no tangible,

concrete interest in the litigation over S.B. 1. Rather, PILF asserts a generalized interest in judicial

precedent around the Voting Rights Act and how it relates to states’ administration of their

elections. Moreover, PILF’s interests—to the extent they are cognizable—are adequately

represented by the State Defendants. PILF should therefore not be permitted to intervene in this

case.

  I.    PILF’s Arguments Are Limited to The LULAC Case

        Even though this case has been consolidated with the four other cases challenging S.B. 1,

PILF filed its intervention motion not in the lead case, LUPE v. Abbott, but in the LULAC v. Abbott



                                                   2
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 4 of 13




case. PILF’s motion limits argument to the allegations made by the LULAC plaintiffs. And counsel

for PILF did not confer with counsel for the Houston Justice plaintiffs before filing this motion.

See PILF Mot. at 12. Nonetheless, PILF purports to reserve the right to respond to all complaints

in the consolidated cases if it is granted a right to intervene. See PILF Mot. at 2 n.1.

        PILF’s motion cannot serve as a basis for intervening to defend against the claims in the

Houston Justice Complaint. By failing to file an answer to the Houston Justice Complaint, PILF

has failed to comply with Federal Rule of Civil Procedure 24(c), which requires a would-be

intervenor to file and serve a “pleading that sets out the claim or defense for which intervention is

sought.” See DOH Oil Co. v. QEP Res., Inc., No. MO:18-CV-0152-DC-RCG, 2019 WL 3816290,

at *2 (W.D. Tex. May 20, 2019) aff’d, 2020 WL 7631502 (W.D. Tex. Mar. 19, 2020) (failure to

attach pleading would not serve as grounds alone for denial, but assists the court “in determining

whether the requirements for intervention have been met”). PILF has also violated Local Rule-CV

7(g), which requires it to confer with the opposing party before filing a nondispositive motion.

Finally, and most fundamentally, PILF’s failure to offer any arguments specific to the Houston

Justice Complaint leave the Court with no basis to grant intervention for purposes of defending

against the claims set forth therein.

 II.    PILF Has Not Established a Right to Intervene

        On the merits, PILF’s motion fares no better. In order to intervene as of right under Federal

Rule of Civil Procedure 24(a)(2), PILF bears the burden of establishing four elements: (1) that its

motion is timely; (2) that it has “an interest relating to the property or transaction that is the subject

of the action”; (3) that it is “so situated that the disposition of the action may, as a practical matter,

. . . impede its ability to protect its interests”; and (4) that its interest would otherwise be

“inadequately represented by the existing parties to the suit.” Brumfield v. Dodd, 749 F.3d 339,



                                                    3
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 5 of 13




341 (5th Cir. 2014); Fed. R. Civ. P. 24(a)(2). PILF’s failure to establish any one of these elements

dooms its motion. Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994).

       PILF has failed to establish a cognizable interest for purposes of Rule 24(a)(2) and

therefore cannot satisfy the second and third prongs. Moreover, even if PILF had a cognizable

interest in the litigation, its interest is sufficiently represented by the State Defendants, rendering

PILF unable to establish the fourth prong under Rule 24(a)(2).

           a. PILF has identified no legally protectable interest in the litigation.

       PILF does not possess a “direct, substantial, and legally protectable” interest in the subject

of the action that is required for intervention. Brumfield, 749 F.3d at 343; see also New Orleans

Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d 452, 464 (5th Cir. 1984) (en banc) (“What

is required is that the interest be one which the substantive law recognizes as belonging to or being

owned by the applicant.” (emphasis in original)). The Fifth Circuit has advised that when a case

implicates the public interest, this standard may be leniently applied, but is not vitiated. In

evaluating whether an intervenor has a sufficient interest in a public-interest context, the courts

look to “a zone-of-interest analysis in standing doctrine” for guidance. Brumfield, 749 F.3d at 344.

Under that analysis, the courts require that the moving party “possess a type of substantive right

not to have the statute violated.” New Orleans Pub. Serv., Inc., 732 F.2d at 465. For example, in

Brumfield, the Fifth Circuit held that parents of students who were predominantly students of color

and who participated in a school voucher program were within the zone of interest of the statute

authorizing such vouchers because they were the program’s intended beneficiaries. 749 F.3d at

340, 345. The Court also held the parents were within the zone of interest of the Equal Protection

Clause because their interest in participating in the litigation was to secure the opportunity, under

that Clause, to send their children to better schools. Id. at 345.



                                                   4
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 6 of 13




       PILF does not identify any interest that fits these criteria. Nowhere in its motion does PILF

identify a concrete interest, let alone a legally protectable one, in the question of whether S.B. 1

violates federal law. Moreover, PILF has not pointed to any members who reside in Texas and will

be affected by the law.

       PILF claims that it is “dedicated to election integrity” and that it “exists to assist states and

others to aid the cause of election integrity and fight against lawlessness in American elections.”

PILF Mot. at 6. PILF later asserts that it “seeks to protect its mission from the misapplications of

federal law”—its mission being the general preservation of “the constitutional balance between a

state’s power to control its own elections and Congress’s limited constitutional authority to protect

against racial discrimination.” PILF Mot. at 7. The balance of the discussion purportedly devoted

to establishing PILF’s interest in the litigation is spent describing PILF’s ability to provide a

“unique perspective” regarding the “national and constitutional implications of Plaintiffs’

allegations.” PILF Mot. at 6.

       This type of generalized interest in “election integrity,” federalism, and the proper

application of law is insufficient to support intervention as of right. Ultimately, PILF’s motion

describes not an intervenor as of right, but at best an amicus who can offer to expand upon the

arguments presented by the parties to the litigation. See Bush v. Viterna, 740 F.2d 350, 359 (5th

Cir. 1984) (where would-be intervenor “merely underlines issues of law already raised by the

primary parties,” amicus status is most appropriate).

       PILF’s failure to identify any legally protectable interest in the litigation defeats its

application for intervention as of right. And because a legally protectable interest in the litigation

is a prerequisite for satisfying the third and fourth intervention factors under Rule 24(a)(2), PILF’s

motion fails on three fronts. See Common Cause Indiana v. Lawson, No. 1:17-cv-03936-TWP-



                                                  5
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 7 of 13




MPB, 2018 WL 1070472, at *5 (S.D. Ind. Feb. 27, 2018) (denying PILF’s intervention motion

and reasoning that because PILF’s interest in the litigation was insufficient, the court needn’t

address whether PILF’s interests would be impaired by disposition of the case).

            b. Even if PILF had a legally protectable interest in the litigation, it is aligned with
               the State Defendants.
        Moreover, even if PILF could identify a legally protectable interest in the case, it has failed

to establish that its interests are not aligned with the State Defendants who are already tasked with

litigating this case.

        The fourth prong that PILF must establish to intervene as of right is that its interests will

not be adequately represented by the existing parties to the litigation. Brumfield, 749 F.3d at 345.

The burden is “minimal,” but not toothless, and where the intervenor has “the same ultimate

objective as a party to the lawsuit,” the court presumes adequate representation. Id. This

presumption can be overcome by a showing of “adversity of interest, collusion, or nonfeasance on

the part of the existing party.” Id.

        PILF has made no effort to show any adversity of interest, collusion, or nonfeasance on the

part of the Defendants. Instead, it speculates that the Defendants in this action “are unlikely to

defend [the case] as strongly as the Foundation due to Defendants’ position as public officials.”

PILF Mot. at 8. That is not sufficient to overcome the presumption of adequate representation. See,

e.g., Elizondo v. Springs Branch Indep. Sch. Dist., No. 4:21-CV-01997, 2021 WL 4502919, at *2

(S.D. Tex. Sept. 28, 2021) (denying intervention where movant suggested without evidence a “lack

of political resolve” on the part of government defendants to defend at-large election system

against Voting Rights Act claim).

        Indeed, a court previously denied PILF’s intervention motion for this very reason. In

Common Cause Indiana v. Lawson, PILF sought to intervene in a lawsuit brought by Common


                                                  6
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 8 of 13




Cause Indiana against state officials, challenging a state voter registration law under the National

Voter Registration Act of 1993. 2018 WL 1070472, at *1. PILF sought to intervene, asserting an

interest in “ensuring that the constitutional balance vesting state control over elections is

preserved.” Id. at *4. The court held that interest was too generalized for intervention under Rule

24(a)(2). Id. at *5. The court held in the alternative that PILF had also failed to establish that the

existing defendants would not adequately represent its interests. In that case, as here, PILF

speculated that the state was “not likely to press all defenses . . . as fully as the Foundation, given

it is unrestrained by political concerns.” Id. And in that case, like here, PILF argued that the state

might not “fully reveal the extent of prior failures,” including maintenance of voter rolls. Id. The

court rejected these arguments, which were made without evidence, concluding that the

“differences between the State’s interest and those of the Foundation are so small that the

Foundation’s interests do not require separate representation.” Id.; see also United States v.

Franklin Par. Sch. Bd., 47 F.3d 755, 758 (5th Cir. 1995) (denying intervention motion even though

movant intended to assert argument that current defendant did not).

       Because PILF’s interests are aligned with the State Defendants and because it has failed to

overcome the presumption of adequate representation, it should be denied intervention as of right.

III.   PILF Should Be Denied Permissive Intervention

       PILF also requests that the Court grant it permissive intervention. But PILF has failed to

make the threshold showing that it has a claim or defense relevant to this case. Moreover, because

the State Defendants will adequately represent any interests PILF may have in this case, permissive

intervention should be denied.




                                                  7
           Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 9 of 13




            a. PILF shares no claim or defense with the main action.

       Courts may permit intervention to anyone who “has a claim or defense that shares with the

main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). This is a threshold

legal question that must be satisfied before a court may grant permissive intervention. See, e.g.,

Howse v. S/V Canada Goose I, 641 F.2d 317, 322 (5th Cir. 1981); see also Texas v. United States,

No. 6:21-CV-00003, 2021 WL 411441, at *1 (S.D. Tex. Feb. 6, 2021). If the court finds this

threshold determination met, it may then exercise its discretion to permit or deny intervention.

Howse, 641 F.2d at 322–23.

       In support of its request, PILF points to two cases in which it was granted permissive

intervention—one of which contained no reasoning.1 But the more illustrative case is one PILF

does not cite in which it was denied permissive intervention in a voting case. In Common Cause

Indiana v. Lawson, discussed supra, PILF sought to intervene in a lawsuit brought by Common

Cause Indiana against state officials under the National Voter Registration Act of 1993. 2018 WL

1070472, at *1. After denying PILF intervention as of right, the court turned to permissive

intervention. The court expressed doubt that PILF had a claim or defense in common with the main

action for purposes of Rule 24(b), reasoning that because the “NVRA simply cannot be used to

enforce a claim against the Foundation,” it has no defense in the action. Id. at *6. Indeed, all the

defenses PILF proposed to assert had to do with the state’s conduct—not PILF. The fact that PILF

agreed with the state defendants’ positions was insufficient.

       In this case as well, PILF has failed to demonstrate that it has a claim or defense in common

with the main action. This is apparent from PILF’s proposed answer, which pleads affirmative


       1
         In the Newby case, the Court granted PILF’s motion to intervene in a minute order and
did not provide any reasoning. See Minute Order, League of Women Voters of the United States
v. Newby, 1:16-cv-236-RJL (Feb. 22, 2016).

                                                 8
          Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 10 of 13




defenses concerning the state’s conduct. See Proposed Answer, ECF No. 43-1 at 49 (“[T]he

legislature may have [acted to vindicate a partisan interest] in addition to acting with the intent to

secure the integrity of the ballot.”); id. (“Defendants enjoy an absolute constitutional prerogative

to enact prophylactic legislation to . . . deter and prevent fraud . . . .”).

            b. The Court should deny permissive intervention because PILF’s interests will be
               represented by the State Defendants.
        Even if PILF could satisfy the requirements of Rule 24(b)(1)(B), the Court should exercise

its discretion to deny intervention. See Kneeland v. Nat’l Collegiate Athletic Ass’n., 806 F.2d 1285,

1289 (5th Cir. 1987) (permissive intervention is wholly within the court’s discretion).

        In assessing a request for permissive intervention, the court should again consider whether

the proposed intervenor’s interests are adequately represented by other parties, and “whether they

are likely to contribute significantly to the development of the underlying factual issues.”

Fernandez v. Cornelios Trucking Refrigerados SA de CV, No. 7:21-CV-00064, 2021 WL 3929181,

at *2 (S.D. Tex. Sept. 2, 2021); NextEra Energy Capital Holdings, Inc. v. Walker, No. 1:19-CV-

626-LY, 2020 WL 3580149 (Feb. 26, 2020) (denying permissive intervention where “existing

parties adequately protect all asserted intere[sts] and the presence of additional parties will not be

of assistance to the court’s determination of the issues presented”); Elizondo, 2021 WL 4502919,

at *2 (denying permissive intervention where there was no reason “to conclude that the defendants

will inadequately represent the applicant’s interests”).

        PILF has made no showing whatsoever that its interests—to the extent they are

cognizable—are inadequately represented, and thus, there is no need for it to intervene. See

Hopwood v. Texas, 21 F.3d 603, 606 (5th Cir. 1994) (upholding denial of permissive intervention

on the basis that proposed intervenor’s interests were adequately represented); see also Common

Cause Indiana, 2018 WL 1070472 at *5 (denying PILF’s permissive intervention motion in part


                                                     9
         Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 11 of 13




based on similarities between PILF’s proposed defense and existing defendants’ defense).

Moreover, PILF has made no claim that its participation will in any way contribute to the

development of factual issues.

                                       CONCLUSION

       For the foregoing reasons, Plaintiffs oppose PILF’s motion to intervene.




                                              10
        Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 12 of 13




Dated: October 21, 2021

                                       REED SMITH LLP, NAACP LEGAL DEFENSE &
                                       EDUCATIONAL FUND, INC., & THE ARC OF THE
                                       UNITED STATES, INC.

                                       /s/ Kenneth E. Broughton
                                       Kenneth E. Broughton
                                       Texas Bar No. 03087250
                                       kbroughton@reedsmith.com

                                       Lora Spencer
                                       Texas Bar No. 24085597
                                       lspencer@reedsmith.com

                                       J. Keely Dulaney*
                                       Texas Bar No. 24116306
                                       kdulaney@reedsmith.com

                                       Reed Smith LLP
                                       811 Main Street, Suite 1700
                                       Houston, TX 77002-6110
                                       Telephone: (713) 469-3800
                                       Facsimile: (713) 469-3899

                                       Sarah M. Cummings
                                       Texas Bar No. 24094609
                                       Reed Smith LLP
                                       2850 N. Harwood Street, Suite 1500
                                       Dallas, TX 75201
                                       Telephone: (469) 680-4200
                                       Facsimile: (469) 680-4299
                                       scummings@reedsmith.com


                                       Kathryn Sadasivan*
                                       NAACP Legal Defense
                                       and Educational Fund, Inc.
                                       40 Rector Street, 5th Floor
                                       New York, NY 10006
                                       Phone: (212) 965-2200
                                       Fax: (212) 226-7592
                                       ksadasivan@naacpldf.org


                                       Georgina Yeomans*
                                       Jennifer A. Holmes*
                                       NAACP Legal Defense
                                       and Educational Fund, Inc.
                                       700 14th Street NW, Suite 600

                                      11
Case 5:21-cv-00844-XR Document 47 Filed 10/21/21 Page 13 of 13



                               Washington, DC 20005
                               Telephone: (202) 682-1300
                               Facsimile: (202) 682-1312
                               gyeomans@naacpldf.org
                               jholmes@naacpldf.org


                               Shira Wakschlag*
                               The Arc of the United States, Inc.
                               1825 K Street, NW, Suite 1200
                               Washington, DC 20006
                                Telephone: (202) 534-3708
                                Facsimile: (202) 534-3731
                                Wakschlag@thearc.org

                               * Admitted Pro Hac Vice

                               Counsel for Plaintiffs Houston Justice; Houston
                               Area Urban League; Delta Sigma Theta Sorority,
                               Inc.; The Arc of Texas; and Jeffrey Lamar
                               Clemmons




                              12
